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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                              HOUSTON DIVISION

JOYCE GRIGGS, Individually,
and as Aunt and Personal
Representative of the Estate of
MARINDA GRIGGS, deceased,

               Plaintiff,

v.                                                      No. __________________

OFFICER C. IRBY, Individually and
as an agent and/or employee of the
TEXAS DEPARTMENT OF
CRIMINAL JUSTICE; TEXAS
DEPARTMENT OF CRIMINAL
JUSTICE; JOHN DOE NO. 1;
JOHN DOE NO. 2; and JOHN DOE NO. 3,

               Defendants.

                        PLAINTIFF’S ORIGINAL COMPLAINT

       Now comes the Plaintiff, JOYCE GRIGGS, individually and as Aunt and
personal representative of the Estate of MARINDA GRIGGS, deceased, hereby files this
Original Complaint complaining of OFFICER C. IRBY, individually and as an agent
and/or employee of the Texas Department of Criminal Justice, THE TEXAS
DEPARTMENT OF CRIMINAL JUSTICE, JOHN DOE NO.1, JOHN DOE NO.2, and
JOHN DOE NO. 3, Defendants, as follows:

                                  Index of Counts

Count I - Defendant Sergeant C. Irby and/or Defendants John Doe No. 1 and/or John
Doe No. 2, and/or John Doe No. 3 - 42 U.S.C. § 1983

Count II - Defendant Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John
Doe No. 2, and/or John Doe No. 3 – Assault and Battery

Count III - Defendant Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John
Doe No. 2, and/or John Doe No. 3 – Willful and Wanton – Survival

Count IV - Defendant Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John
Doe No. 2, and/or John Doe No. 3 – Wrongful Death

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Count V - Texas Department of Criminal Justice – Vicarious Liability for Defendant
Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John Doe No. 2, and/or John
Doe No. 3’s Willful and Wanton Conduct – Survival

Count VI - Texas Department of Criminal Justice – Vicarious Liability for Defendant
Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John Doe No. 2, and/or John
Doe No. 3’s Willful and Wanton Conduct – Wrongful Death

Count VII - Texas Department of Criminal Justice – Institutional Liability – Survival

Count VIII - Texas Department of Criminal Justice – Institutional Liability – Wrongful
Death

Count IX - Defendant Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John
Doe No. 2, and/or John Doe No. 3 – Intentional Infliction of Emotional Distress

Count X - Defendant Texas Department of Criminal Justice Vicarious Liability for
Defendant Sergeant C. Irby and/or Defendants John Doe No. 1, and/or John Doe No. 2,
and/or John Doe No. 3’s Intentional Infliction of Emotional Distress

Count XI - Texas Department of Criminal Justice – Violation of Title II of the Americans
With Disabilities Act

Count XII - Civil Practices and Remedies Code § 101.021 Governmental Liability for
Texas Tort Claims


                                         Parties

       1.      Plaintiff Joyce Griggs is a person of the full age of majority and a resident

of Smith County, Texas.      Joyce Griggs sues on behalf of herself and as personal

representative of Marinda Griggs, deceased, who was a prisoner at the Christina Melton

Crain Unit in Gatesville, Texas.

       2.      Defendant Sergeant C. Irby is a resident of Texas, and is or was a Law

Enforcement Officer for Texas Department of Criminal Justice. At all times relevant to

this cause, he was operating in the course and scope of his agency and/or employment

relationship with the Texas Department of Criminal Justice. He is sued in his individual


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capacity and as an agent/employee of the Texas Department of Criminal Justice.

       3.      Defendant Texas Department of Criminal Justice is a public entity and

subdivision of the State of Texas. Defendant Texas Department of Criminal Justice is

located at 861-B I-45 N Huntsville, Texas 77320. Defendant Texas Department of

Criminal Justice employed persons including Defendant Sergeant C. Irby and other

officers who, in the course and scope of their employment, were to enforce and follow

the rules and laws as established by the State of Texas and the United States of America.

       4.      Defendants John Doe No. 1, John Doe No. 2, and John Doe No. 3, are

residents of Texas, and are or were employee Law Enforcement Officers for the Texas

Department of Criminal Justice. At all times relevant to this cause, they were operating

in the course and scope of their agency and/or employment relationship with the Texas

Department of Criminal Justice.

       5.      At all times material throughout this Complaint, Defendant Sergeant C.

Irby acted under color of state law, ordinance, and/or regulation, and in the course and

scope of his employment with the Texas Department of Criminal Justice.

       6.      At all times material throughout this complaint, Defendants John Doe Nos.

1-3 acted under color of state law, ordinance, and/or regulation, and in the course and

scope of their employment with the Texas Department of Criminal Justice.

                                     Jurisdiction

       7.      This Court has jurisdiction over the claims raised in this Complaint under

42 U.S.C. § 1983, 28 U.S.C. § 1331, and 28 U.S.C. § 1343.

       8.      Venue is appropriate in the Southern District of Texas under 28 U.S.C. §

1391 whereas Defendant Texas Department of Criminal Justice is located, and all other


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defendants are residents of the State of Texas.

           9.    Plaintiff further invokes supplemental jurisdiction of this Court pursuant

to 28 U.S.C. § 1367 to adjudicate pendent claims arising under the laws of the State of

Texas and seeks recovery under common law, the Wrongful Death and Survival Statutes

of the State of Texas, and The Texas Tort Claims Act, as allowed by law.

                            Facts Common to All Counts

           10.   On or about September 29, 2015, Defendant Sergeant C. Irby (Hereinafter,

“Irby” or “Defendant Irby”) was an employee prison officer working for Defendant

Texas Department of Criminal Justice, at the Christina Melton Crain Unit in Gatesville,

Texas.

           11.   On or about September 29, 2015, Marinda Griggs was a prisoner in the

Crain Unit under the care, custody, and control of the Texas Department of Criminal

Justice.

           12.   Marinda Griggs had suffered from the neurological medical condition

epilepsy since she was a child, and to which Texas Department of Criminal Justice was

aware.

           13.   During Marinda Griggs’ incarceration, and while under the care, custody,

and control of the Texas Department of Criminal Justice, she had suffered numerous

epileptic seizures and required treatment by the Texas Department of Criminal Justice

medical staff.

           14.   On or about September 29, 2015 at approximately 12:56 p.m., at or around

the dorm sidewalk of the Crain Unit, Marinda Griggs notified Defendant Irby and other




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Defendant John Doe officers that she felt an epileptic seizure was about to occur, and

began shaking and moving uncontrollably.

        15.        Upon information and belief, Defendant Irby and/or the other Defendant

John Doe officers demanded she stopped shaking and moving “out of the lineup.”

        16.        Neither Defendant Irby nor the Defendants John Doe officers made any

attempt to provide Marinda Griggs with medical intervention and/or attention after she

informed them that she knew an epileptic seizure was about to occur.

        17.        Rather than providing Marinda Griggs with medical intervention and/or

attention, and upon information and belief, Defendant Irby and/or the Defendant John

Doe officers slammed Ms. Griggs on the concrete ground, and/or beat her so severely that

she was caused to go to the hospital where she would remain for approximately four (4)

to six (6) days.

        18.        As a result of the assault, Marinda Griggs sustained serious life

threatening and life altering bodily injuries to her head and body, causing her severe pain,

suffering, mental anguish, and emotional distress.

        19.        On or about September 29, 2015, and at all times relevant, Defendant Irby

and/or the Defendant John Doe officers acted while in the course and scope of their

employment with the Texas Department of Criminal Justice.

        20.        Upon information and belief, prior to, or after the September 29, 2015

incident referenced above, Defendant Irby and/or the other Defendant John Doe officers

were reprimanded by Defendant Texas Department of Criminal Justice for their conduct.

        21.        While Marinda Griggs was still in the hospital, or shortly thereafter,

Defendant Irby, and/or other Defendant John Doe officers filed a “major case/write-up”



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against Marinda Griggs.     The case “write-up” claimed that Marinda Griggs created a

disturbance by acting belligerently, which resulted in a significant disruption of

operations in that such act caused a use of force that pushed the “inmate count” to run

late.

        22.     The “major case/write-up was falsified”, as it included allegations of

misconduct although Defendant Irby and/or other Defendant John Doe officers had actual

knowledge that Marinda Griggs had merely suffered an epileptic seizure and any

resulting “disobedience” was involuntary.

        23.    At all times after this incident – including prior to filing the case “write-

up,” during filing, and subsequent thereto – Defendants Irby and/or the Defendant John

Doe officers were fully aware that Marinda Griggs had in fact suffered a severe epileptic

seizure on September 29, 2015, and her alleged disruption was unavoidable due to her

medical disability.

        24.    Defendant Irby’s and/or the Defendant John Doe officers’ filing of the

case “write-up” amounted to a falsified conduct violation.

        25.    Upon information and belief, Defendant Texas Department of Criminal

Justice investigated the aforementioned September 29, 2015 assault on Marinda Griggs.

        26.    As a result of the investigation, Defendant Texas Department of Criminal

Justice learned of the assault by Defendant Irby and/or the Defendant John Doe officers,

and that Marinda Griggs had in fact suffered an epileptic seizure. However, Defendant

Texas Department of Criminal Justice still permitted the falsified case “write-up” to be

filed, knowing that Marinda Griggs had done nothing to deserve such a severe strike

against her which would ultimately affect her parole.



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       27.     At all times relevant to this case filing, Defendant Irby, the Defendant

John Doe officers, and Texas Department of Criminal Justice personnel involved with the

decision to permit and go forth with the case filing, were acting in the course and scope

of their employment with the Texas Department of Criminal Justice.

       28.     Upon information and belief, Marinda Griggs was not provided a copy of

the case “write up” within 48 hours of the incident.

       29.     Upon information and belief, Marinda Griggs was not permitted to file a

response and/or answer the case that was filed against her.

       30.     Upon information and belief, Marinda Griggs was not provided legal

representation once this case was filed against her.

       31.     Upon information and belief, Marinda Griggs was released from the

hospital and brought back to the Christina Melton Crain Prison Unit on or about October

2, 2015 to October 4, 2015.

       32.     Upon information and belief, Marinda Griggs was taken before a Judge (or

Magistrate) without legal representation, where she received an additional approximate

forty-five (45) day sentence to her prison term.

       33.     Upon information and belief, authorities at Defendant Texas Department

of Criminal Justice and those officers involved with the aforementioned September

assault were aware that Marinda Griggs had suffered a severe epileptic seizure and had

done nothing wrong, yet conspired to bring forth false charges against her.

       34.     Upon information and belief, Marinda Griggs also received a sentence of

fifteen (15) days in solitary confinement due to the falsified “write-up/charges.”




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       35.     Upon information and belief, Marinda Griggs was eligible for parole on or

about January 27, 2017.

       36.     Upon information and belief, Marinda Griggs was keenly aware that this

case filing would negatively affect her chances to qualify for parole, which was only

approximately sixteen (16) months away.

       37.     As a result of this falsified case filing, Marinda Griggs suffered severe

mental anguish, suffering, and emotional distress.

       38.     Upon information and belief, Marinda Griggs informed officers, and or

agents of Defendant Texas Department of Criminal Justice about how extremely upset

and distraught she was due to the falsified case filing.

       39.     Upon information and belief, Defendant Texas Department of Criminal

Justice was aware that Marinda Griggs was suffering from medically diagnosed

depression, and she was extremely distraught due to the case filed against her.

       40.     Upon information and belief, Defendant Texas Department of Criminal

Justice was aware that Marinda Griggs suffered from medically diagnosed depression and

severe epilepsy when the falsified case was filed against her, ultimately causing her to be

placed in solitary confinement without proper supervision and with dangerous tangible

property.

       41.     Defendant Texas Department of Criminal Justice also had full knowledge

that Marinda Griggs had previously attempted suicide by hanging twice while in the care,

custody, and control of Defendant Texas Department of Criminal Justice.

       42.     On or about May 16, 2009, upon information and belief, Marinda Griggs

allegedly attempted to commit suicide by hanging herself with a bed sheet while alone in



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her jail cell while under the care, custody, and control of Defendant Texas Department of

Criminal Justice.

       43.     As of October 2, 2015, Defendant Texas Department of Criminal Justice

and its officer employees knew or should have known that Marinda Griggs had attempted

suicide by a bed sheet hanging previously while in Defendant’s care, custody, and

control.

       44.     As of September 29, 2015, Defendant Texas Department of Criminal

Justice and its officer employees knew or should have known that Marinda Griggs had

been medically diagnosed and treated for epilepsy and depression while in the care,

custody, and control of the Defendant Texas Department of Criminal Justice.

       45.     As of September 29, 2015, Defendant Texas Department of Criminal

Justice and its officer employees knew or should have known that Marinda Griggs had

been prescribed Prozac and/or other anti-depressant medications while under the care,

custody, and control of Defendant Texas Department of Criminal Justice.

       46.     Upon information and belief, at some time on or after October 2, 2015,

Marinda Griggs was placed in solitary confinement in a single occupant prison cell with

non-breakaway sheets and access to air vents/ducts and prison bars, all the while

Defendant Texas Department of Criminal Justice was fully knowledgeable of the fact that

Marinda Griggs suffered from medically diagnosed epilepsy and depression and had

twice attempted suicide.

       47.     On or about October 2, 2015, and at all times relevant through October 9,

2015, personnel at the Crain Unit of Defendant Texas Department of Criminal Justice

were required to keep Marinda Griggs safe and free from physical injury, harm, or death.



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       48.     On or about September 29, 2015, and at all times relevant through October

9, 2015, personnel at the Christina Melton Crain Unit (“Crain Unit”) of Defendant Texas

Department of Criminal Justice were required to keep Marinda Griggs safe and free from

psychological injury or harm.

       49.     On or about October 2, 2015, and at all times relevant through October 9,

2015, personnel at the Crain Unit of Defendant Texas Department of Criminal Justice

were required to screen and evaluate Marinda Griggs on an ongoing basis.

       50.     On or about October 2, 2015, and at all times relevant through October 9,

2015, Defendant Texas Department of Criminal Justice was required to train its prison

personnel, yet failed to do so, as to the method and means of evaluating persons in

custody to keep them safe from physical or psychological injury, harm, or death.

       51.     Upon information and belief, Defendant Texas Department of Criminal

Justice failed to properly supervise Marinda Griggs while she was wrongfully in solitary

confinement knowing that she was being emotionally distraught, had just been released

from the hospital due to an assault, had suffered serious life threatening head and bodily

injuries, and while she was being medically treated for depression and severe epilepsy.

       52.     On or about October 2, 2015, and at all times relevant through October 9,

2015, personnel at the Crain Unit of Defendant Texas Department of Criminal Justice

were required to screen and evaluate the mental status of persons placed in solitary

confinement, yet upon information and belief failed to do so.

       53.     On or about October 2, 2015, and at all times relevant through October 9,

2015, personnel at the Crain Unit of the Defendant Texas Department of Criminal Justice

placed Marinda Griggs in a cell with a bed sheet knowing that she had (1) previously



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attempted suicide with a bed sheet, (2) was very severely distraught due to the new case

filed against her, (3) was medically diagnosed with depression and severe epilepsy, and

(4) had just been released from the hospital after sustaining a severe assault causing her

life threatening injuries to her head and body.

         54.   On or about October 2, 2015 and at all times relevant through October 9,

2015, personnel at the Crain Unit of the Defendant Texas Department of Criminal Justice

failed to appropriately respond when Marinda Griggs had bouts of uncontrollable crying

exhibiting severe depression and emotional distress.

         55.   On or about October 9, 2015 personnel of Defendant Texas Department of

Criminal Justice claimed that Marinda Griggs was found in a single occupant cell

hanging with a ligature made of a bed sheet around her neck.

         56.   On or about October 9, 2015, Defendant Texas Department of Criminal

Justice personnel at the Crain Unit claimed that Marinda Griggs was provided medical

treatment.

         57.   On or about October 9, 2015, Marinda Griggs died while under the care,

custody, and control of the Defendant Texas Department of Criminal Justice.

         58.   A complete autopsy was performed beginning at 10:30 hours on October

10, 2015 by the Tarrant County Medical Examiner’s District Morgue in Fort Worth,

Texas.

         59.   The Gross Anatomic Description from the autopsy report states, among

other things, that there were confluent healing defects of the left temple 1 X 1 ¼ inches in

size with trace adherent scabs, and the neck demonstrates evidence of traumatic injury.




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       60.       The Evidence of Injury section of the autopsy report states, among other

things, that there is abraded ligature furrow of the neck 11 inches in length and varying in

width from 3/8 to ½ inch, the ligature furrow crossed the anterior neck centered ¼ inch

below the thyroid cartilage prominence, and there was no hemorrhage of the anterior

strap muscles.

       61.       The Medical Examiner determined that the cause of death was due to

asphyxia by hanging, and the manner of death was classified as suicide.

                                    Count I
 42 U.S.C. § 1983 – Defendant Sergeant C. Irby and/or Defendants John Doe No. 1
                   and/or John Doe No. 2, and/or John Doe No. 3

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

       62.       Prior to, and/or after September 29, 2015, Defendant Irby was

reprimanded for unprofessional conduct.

       63.       Prior to September 29, 2015 and/or October 9, 2015, Defendant Texas

Department of Criminal Justice knew or should have known that Defendant Irby

exhibited a pattern of escalating wrongful conduct towards prison inmates.

       64.       On September 29, 2015, Defendant Irby and/or Defendant John Doe No.

1, and/or John Doe No. 2, and/or John Doe No. 3 acted under color of law.

       65.       On or about October 9, 2015, Defendant Irby and/or Defendant John Doe

No. 1, and/or John Doe No. 2, and/or John Doe No. 3 acted under color of law.

       66.       In the events alleged above, Defendant Irby and/or Defendant John Doe

No. 1, and/or John Doe No. 2, and/or John Doe No. 3 acted contrary to law, and

intentionally, willfully, wantonly, and unreasonably deprived Marinda Griggs of her

rights, privileges, and immunities secured by the U.S. Constitution and 42 U.S.C. § 1983.



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       67.     The above-described acts and omissions by Defendant Irby and/or

Defendant John Doe No. 1, and/or John Doe No. 2, and/or John Doe No. 3 demonstrated

a deliberate indifference to and conscious disregard for the constitutional rights and

safety of Marinda Griggs.

       68.     As a result of Defendant Irby’s and/or Defendant John Doe No. 1, and/or

John Doe No. 2, and/or John Doe No. 3 violations of Marinda Griggs’ constitutional

rights, Marinda Griggs suffered substantial injuries, including but not limited to physical

injury, pain and suffering, mental anguish, damages and, ultimately, death.

       69.     Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

       70.     Defendant Irby and/or Defendant John Doe No. 1, and/or John Doe No. 2,

and/or John Doe No. 3 deprived Marinda Griggs of her rights guaranteed by the United

States Constitution and federal statutes.

       71.     As a direct and proximate result of the foregoing, Defendant Irby,

individually and/or Defendant John Doe No. 1, and/or John Doe No. 2, and/or John Doe

No. 3 deprived Marinda Griggs of her rights and privileges as a citizen of the United

States, and Defendant Irby and/or Defendant John Doe No. 1, and/or John Doe No. 2,

and/or John Doe No. 3 caused Marinda Griggs to suffer injuries and death, of which

caused the general damages requested by Plaintiff in an amount in excess of the

applicable jurisdictional amount, to be proven at trial.

       72.     The claims and cause of action for injuries to the health, reputation, and

person sustained by Marinda Griggs are brought in this action pursuant to the Survival

Act, Texas Civil Practice and Remedies Code § 71.021.



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       73.     The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt, Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.


                                    Count II
 Assault and Battery – Defendants Sergeant C. Irby and/or John Doe No. 1, and/or
                      John Doe No. 2, and/or John Doe No. 3

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

       74.     On or about September 29, 2015, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3 committed a battery upon Marinda Griggs when

he and/or they intentionally, knowingly, and/or recklessly slammed Marinda Griggs upon

the concrete floor and beat her with fists, and/or elbows, and/or knees, and/or other body

parts, after Marinda Griggs informed them that she felt an epileptic seizure coming on.

       75.     On or about September 29, 2015, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3 committed an assault upon Marinda. Griggs when

he and/or they intentionally, knowingly, and/or recklessly threatened Marinda Griggs

with imminent physical harm upon Marinda Griggs informing them that she felt an

epileptic seizure coming on. Ultimately, he and/or they slammed Marinda Griggs upon

the concrete floor and beat her, causing her to be hospitalized for her severe injuries.

       76.     At no time was Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3 privileged to take the action, as such force was not necessary and was

prohibited under the circumstances.

       77.     As a direct and proximate result of the foregoing, Defendant Irby,

individually, and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 as agents of

the Texas Department of Criminal Justice, assaulted and battered Marinda Griggs, and

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caused her to suffer injury and/or death, of which has caused the general damages

requested by Plaintiff in an amount in excess of the applicable jurisdictional amount, to

be proven at trial.

                                   Count III
Willful and Wanton – Survival - Defendants Sergeant C. Irby and/or John Doe No.
               1, and/or John Doe No. 2, and/or John Doe No. 3

Plaintiff re-alleges Paragraphs 1-61 of the Complaint

        78.     Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 had been reprimanded for

unprofessional conduct.

        79.     Prior to September 29, 2015, Defendant Texas Department of Criminal

Justice knew or should have known that Defendant Irby, and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with

inmates.

        80.     On or about September 29, 2015 through October 9, 2015, Defendant Irby,

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 acted under color of law.

        81.     In the events alleged above, Defendant Irby, and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 acted contrary to law, and intentionally, willfully,

wantonly, and unreasonably deprived Marinda Griggs of her rights, privileges, and

immunities secured by the U.S. Constitution and 42 U.S.C. § 1983 and the Americans

with Disabilities Act.

        82.     The above-described acts and omissions by Defendant Irby, and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 demonstrated a deliberate

indifference to and conscious disregard for the constitutional rights of Marinda Griggs.



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            83.   As a result of Defendant Irby’s, and/or Defendants John Does No. 1’s,

and/or No. 2’s, and/or No. 3’s violations of Marinda Griggs’ constitutional rights,

Marinda Griggs suffered substantial injuries, including but not limited to physical injury,

pain and suffering, mental anguish, damages and, ultimately, death.

            84.   Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

            85.   Defendant Irby, and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 deprived Marinda Griggs of her rights guaranteed by the United States

Constitution.

            86.   As a direct and proximate result of the foregoing, Defendant Irby

individually, and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 as an

agent(s) of the Texas Department of Criminal Justice, deprived Marinda Griggs of her

rights and privileges as a citizen of the United States, and Defendant(s) caused Marinda

Griggs to suffer injury and death, of which has caused the general damages requested by

the Plaintiff in an amount in excess of the applicable jurisdictional amount, to be proven

at trial.

            87.   The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt, Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.

                                    Count IV
 Willful and Wanton – Wrongful Death - Defendants Sergeant C. Irby and/or John
             Doe No. 1, and/or John Doe No. 2, and/or John Doe No. 3

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

            88.   Upon information and belief, prior to September 29, 2015, Defendant Irby



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and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 had been reprimanded for

unprofessional conduct.

       89.     Prior to September 29, 2015, Defendant Texas Department of Criminal

Justice knew or should have known that Defendant Irby, and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with

inmates.

       90.     On or about September 29, 2015 through October 9, 2015, Defendant Irby,

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 acted under color of law.

       91.     In the events alleged above, Defendant Irby, and/or John Does No. 1,

and/or No. 2, and/or No. 3 acted contrary to law, and intentionally, willfully, wantonly,

and unreasonably deprived Marinda Griggs of her rights, privileges, and immunities

secured by the U.S. Constitution and 42 U.S.C. § 1983 and the Americans with

Disabilities Act.

       92.     The above-described acts and omissions by Defendant Irby, and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 demonstrated a deliberate

indifference to and conscious disregard for the constitutional rights of Marinda Griggs.

       93.     As a result of Defendant Irby’s, and/or Defendants John Does No. 1’s,

and/or No. 2’s, and/or No. 3’s violations of Marinda Griggs’ constitutional rights, she

suffered substantial injuries, including but not limited to physical injury, pain and

suffering, mental anguish, damages and, ultimately, death.

       94.     Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

       95.     Defendant Irby, and/or Defendants John Does No. 1, and/or No. 2, and/or



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No. 3 deprived Marinda Griggs of her rights guaranteed by the United States

Constitution.

            96.   As a direct and proximate result of the foregoing, Defendant Irby

individually, and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 as an

agent(s) of the Texas Department of Criminal Justice, deprived Marinda Griggs of her

rights and privileges as a citizen of the United States, and Defendant(s) caused Marinda

Griggs to suffer injury and death, of which has caused the general damages requested by

the Plaintiff in an amount in excess of the applicable jurisdictional amount, to be proven

at trial.

            97.   The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt, Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.

                                      Count V
   Vicarious Liability of the Texas Department of Criminal Justice for Defendants
  Sergeant C. Irby and/or John Doe No. 1, and/or John Doe No. 2, and/or John Doe
                    No. 3 Willful and Wanton Conduct – Survival

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

            98.   Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 were reprimanded for

unprofessional conduct.

            99.   Prior to September 29, 2015, Defendant Irby and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 and Defendant Texas Department of Criminal Justice

knew or should have known that Defendant Irby and/or Defendants John Does No. 1,

and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with prison

inmates.

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       100.    On September 29, 2015 through October 9, 2015 Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 were agents and/or employees of

Defendant Texas Department of Criminal Justice.

       101.    In the events alleged above, Defendant Texas Department of Criminal

Justice, by and through its agents or employees, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3, acted contrary to law, and intentionally and

unreasonably deprived Marinda Griggs of her rights, privileges and immunities secured

by the U.S. Constitution and 42 U.S.C. § 1983 in a willful and wanton fashion.

       102.    Prior to September 29, 2015, and at all times relevant, Defendant Texas

Department of Criminal Justice was responsible for training its law enforcement officers,

including but not limited to Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, with regard to how to conduct their duties with an inmate afflicted

with multiple health disabilities, but failed to fully, adequately, and properly do so.

       103.    Prior to September 29, 2015 and at all times relevant, Defendant Texas

Department of Criminal Justice failed to properly evaluate its law enforcement

personnel’s qualifications, training, demeanor, and fitness-for-duty as Defendant Texas

Department of Criminal Justice officers, including but not limited to Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3.

       104.    The above-described acts and omissions by Defendant Texas Department

of Criminal Justice demonstrate a deliberate indifference to and conscious disregard for

the constitutional rights and safety of Marinda Griggs.

       105.    As a result of the violations of Marinda Griggs’ constitutional rights by

Defendant Texas Department of Criminal Justice, through its agent(s) and or



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employee(s), Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 and his/their afore-described willful and wanton conduct, Marinda Griggs suffered

substantial injuries, damages, and ultimately death.

        106.    Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

        107.    Defendant Texas Department of Criminal Justice, by and through its

agent(s) and/or employee(s) Defendant Irby and/or John Does No. 1, and/or No. 2, and/or

No. 3, deprived Marinda Griggs of her rights guaranteed by the United States

Constitution and federal statutes.

        108.    As a direct and proximate result of the foregoing conduct, Defendant

Texas Department of Criminal Justice, by and through its agent(s) and/or employee(s),

Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3, deprived

Marinda Griggs of her rights and privileges as a citizen of the United States, and caused

Marinda Griggs to suffer injury and death, of which has caused the general damages

requested by Plaintiff in an amount in excess of the applicable jurisdictional amount, to

be proven at trial.

        109.    The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt, Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.

                                     Count VI
  Vicarious Liability of the Texas Department of Criminal Justice for Defendants
 Sergeant C. Irby and/or John Doe No. 1, and/or John Doe No. 2, and/or John Doe
               No. 3 Willful and Wanton Conduct – Wrongful Death


Plaintiff re-alleges Paragraphs 1-61 of the Complaint.



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       110.    Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 was/were reprimanded

for unprofessional conduct.

       111.    Prior to September 29, 2015, Defendant Texas Department of Criminal

Justice knew or should have known that Defendant Irby and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with prison

inmates.

       112.    On September 29, 2015 through October 9, 2015 Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 were agents and/or employees of

the Defendant Texas Department of Criminal Justice.

       113.    In the events alleged above, Defendant Texas Department of Criminal

Justice, by and through its agents or employees, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3, acted contrary to law, and intentionally and

unreasonably deprived Marinda Griggs of her rights, privileges and immunities secured

by the U.S. Constitution and 42 U.S.C. § 1983 in a willful and wanton fashion.

       114.    The above-described acts and omissions by Defendant Texas Department

of Criminal Justice demonstrate a deliberate indifference to and conscious disregard for

the constitutional rights and safety of Marinda Griggs.

       115.    As a result of the violations of Marinda Griggs’ constitutional rights by

Defendant Texas Department of Criminal Justice, through its agent(s) and or

employee(s), Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 and his/their afore-described willful and wanton conduct, Marinda Griggs suffered

substantial injuries, damages, and ultimately death.



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          116.   Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

          117.   Defendant the Texas Department of Criminal Justice, by and through its

agent(s) and/or employee(s) Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, deprived Marinda Griggs of her rights guaranteed by the United

States Constitution.

          118.   As a direct and proximate result of the foregoing conduct, Defendant

Texas Department of Criminal Justice, by and through its agent(s) and/or employee(s),

Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3, deprived

Marinda Griggs of her rights and privileges as a citizen of the United States, and caused

her to suffer injury and death, of which has caused the general damages requested by

Plaintiff in an amount in excess of the applicable jurisdictional amount, to be proven at

trial.

          119.   The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt, Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.

                                          Count VII
         Institutional Liability – Survival – Texas Department of Criminal Justice


Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

          120.   Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 was/were reprimanded

for unprofessional conduct.

          121.   Prior to September 29, 2015, Defendant Texas Department of Criminal



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Justice knew or should have known that Defendant Irby and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with prison

inmates.

       122.    On September 29, 2015 through October 9, 2015 Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 were agents and/or employees of

the Defendant Texas Department of Criminal Justice.

       123.    In the events alleged above, Defendant the Texas Department of Criminal

Justice, by and through its agents or employees, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3, acted contrary to law, and intentionally and

unreasonably deprived Marinda Griggs of her rights, privileges and immunities secured

by the U.S. Constitution and 42 U.S.C. § 1983 in a willful and wanton fashion.

       124.    Prior to September 29, 2015, and at all times relevant, Defendant the

Texas Department of Criminal Justice was responsible for training its law enforcement

officers, including but not limited to Defendant Irby and/or Defendants John Does No. 1,

and/or No. 2, and/or No. 3, with regard to how to conduct their duties with an inmate

afflicted with multiple health disabilities, but failed to fully, adequately, and properly do

so.

       125.    Prior to September 29, 2015 and at all times relevant, Defendant Texas

Department of Criminal Justice failed to properly evaluate its law enforcement

personnel’s qualifications, training, demeanor, and fitness-for-duty as Texas Department

of Criminal Justice officers, including but not limited to Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3.

       126.    The above-described acts and omissions by Defendant Texas Department



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of Criminal Justice demonstrate a deliberate indifference to and conscious disregard for

the constitutional rights and safety of Marinda Griggs.

        127.    As a result of the violations of Marinda Griggs’ constitutional rights by

Defendant Texas Department of Criminal Justice, through its agent(s) and or

employee(s), Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 and his/their afore-described willful and wanton conduct, Marinda Griggs suffered

substantial injuries, damages, and ultimately death.

        128.    Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

        129.    Defendant the Texas Department of Criminal Justice, by and through its

agent(s) and/or employee(s) Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, deprived Marinda Griggs of her rights guaranteed by the United

States Constitution and federal statutes.

        130.    As a direct and proximate result of the foregoing conduct, Defendant

Texas Department of Criminal Justice, by and through its agent(s) and/or employee(s),

Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3, deprived

Marinda Griggs of her rights and privileges as a citizen of the United States, and caused

Marinda Griggs to suffer injury and death, of which has caused the general damages

requested by Plaintiff in an amount in excess of the applicable jurisdictional amount, to

be proven at trial.

        131.    The claims and causes of action for injuries to the health, reputation and

person sustained by Marinda Griggs are brought in this action pursuant to the Survival

Act, Texas Civil Practice and Remedies Code § 71.021.



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                                    Count VIII
 Institutional Liability – Wrongful Death – Texas Department of Criminal Justice


Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

       132.    Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 was/were reprimanded

for unprofessional conduct.

       133.    Prior to September 29, 2015, Defendant Texas Department of Criminal

Justice knew or should have known that Defendant Irby and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with prison

inmates.

       134.    On September 29, 2015 through October 9, 2015 Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 were agents and/or employees of

the Texas Department of Criminal Justice.

       135.    In the events alleged above, Defendant Texas Department of Criminal

Justice, by and through its agents or employees, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3, acted contrary to law, and intentionally and

unreasonably deprived Marinda Griggs of her rights, privileges and immunities secured

by the U.S. Constitution and 42 U.S.C. § 1983 in a willful and wanton fashion.

       136.    Prior to September 29, 2015, and at all times relevant, Defendant Texas

Department of Criminal Justice was responsible for training its law enforcement officers,

including but not limited to Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, with regard to how to conduct their duties with an inmate afflicted

with multiple health disabilities, but failed to fully, adequately, and properly do so.



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       137.    Prior to September 29, 2015 and at all times relevant, Defendant Texas

Department of Criminal Justice failed to properly evaluate its law enforcement

personnel’s qualifications, training, demeanor, and fitness-for-duty as Texas Department

of Criminal Justice officers, including but not limited to Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3.

       138.    The above-described acts and omissions by Defendant Texas Department

of Criminal Justice demonstrate a deliberate indifference to and conscious disregard for

the constitutional rights and safety of Marinda Griggs.

       139.    As a result of the violations of Marinda Griggs’ constitutional rights by

Defendant Texas Department of Criminal Justice, through its agent(s) and or

employee(s), Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 and his/their afore-described willful and wanton conduct, Marinda Griggs suffered

substantial injuries, damages, and ultimately death.

       140.    Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

       141.    Defendant the Texas Department of Criminal Justice, by and through its

agent(s) and/or employee(s) Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, deprived Marinda Griggs of her rights guaranteed by the United

States Constitution and federal statutes.

       142.    As a direct and proximate result of the foregoing conduct, Defendant

Texas Department of Criminal Justice, by and through its agent(s) and/or employee(s),

Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3, deprived

Marinda Griggs of her rights and privileges as a citizen of the United States, and caused



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Marinda Griggs to suffer injury and death, of which has caused the general damages

requested by Plaintiff in an amount in excess of the applicable jurisdictional amount, to

be proven at trial.

        143.    The claims and causes of action for the wrongful death of Marinda Griggs

are brought by her aunt Joyce Griggs on behalf of herself and all rightful heirs, pursuant

to Texas Civil Practice and Remedies Code § 71.002-004.

                                      Count IX
  Intentional Infliction of Emotional Distress - Defendants Sergeant C. Irby and/or
           John Doe No. 1, and/or John Doe No. 2, and/or John Doe No. 3

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

        144.    On or about September 29, 2015 through October 9, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 acted intentionally and/or

recklessly by verbally and physically assaulting Marinda Griggs while he/they knew, or

should have known that she suffered from recurrent epileptic seizures which she was then

being treated, medically diagnosed depression which she was then being treated, and to

which she had twice attempted suicide while in the care, custody, and control of the

Defendant Texas Department of Criminal Justice.

        145.    On or about September 29, 2015 through October 9, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 acted intentionally and/or

recklessly by falsely filing charges, and/or a “write-up and/or a strike” against Marinda

Griggs (which ultimately would affect her ability to be paroled) while he/they knew, or

should have known that she did nothing to deserve such allegations from her epileptic

episode on or about September 29, 2015, and all the while knowing that Marinda Griggs

suffered from recurrent epileptic seizures to which she was then being treated (and in



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which she had just been released from the hospital) medically diagnosed depression to

which she was then being treated, and to which she had twice attempted suicide while in

the care, custody, and control of Defendant Texas Department of Criminal Justice.

       146.    Upon information and belief, on or about September 29, 2015 through

October 9, 2015, Defendant Irby and/or Defendants John Does No. 1, and/or No. 2,

and/or No. 3 acted intentionally and/or recklessly by verbally and emotionally inflicting

abuse upon Marinda Griggs causing extreme emotional distress.

       147.    The emotional distress suffered by Marinda Griggs was so severe that she

ultimately took her own life by hanging herself from the provided bed sheet.

       148.    Defendant Irby’s and/or Defendants John Does No. 1’s, and/or No. 2’s,

and/or No. 3’s conduct towards Marinda Griggs who was disabled by medically

diagnosed depression and epilepsy was extreme and outrageous.

       149.    Defendant Irby’s and/or Defendants John Does No. 1’s, and/or No. 2’s,

and/or No. 3’s acts qualify as ministerial acts, and therefore are not protected by

immunity.

       150.    Defendant Irby’s and/or Defendants John Does No. 1’s, and/or No. 2’s,

and/or No. 3’s outrageous conduct described above proximately caused Marinda Griggs’

emotional distress, and no alternative cause of action would provide a remedy for the

severe emotional distress caused by Defendant Irby’s and/or Defendants John Does No.

1’s, and/or No. 2’s, and/or No. 3’s conduct.

                                     Count X
  Vicarious Liability of the Texas Department of Criminal Justice for Defendants
 Sergeant C. Irby’s and/or John Doe No. 1’s, and/or John Doe No. 2’s, and/or John
              Doe No. 3’s Intentional Infliction of Emotional Distress

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

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       151.    Upon information and belief, prior to September 29, 2015, Defendant Irby

and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3 was/were reprimanded

for unprofessional conduct.

       152.    Prior to September 29, 2015, Defendant Texas Department of Criminal

Justice knew or should have known that Defendant Irby and/or Defendants John Does

No. 1, and/or No. 2, and/or No. 3 exhibited a pattern of escalating encounters with prison

inmates.

       153.    On September 29, 2015 through October 9, 2015, Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3 were agents and/or employees of

Defendant Texas Department of Criminal Justice acting within the course of his/their

employment.

       154.    In the events alleged above, Defendant the Texas Department of Criminal

Justice, by and through its agents or employees, Defendant Irby and/or Defendants John

Does No. 1, and/or No. 2, and/or No. 3, acted contrary to law, by intentionally and/or

recklessly causing severe emotional distress by Marinda Griggs who had done nothing

wrong, and rather was disabled and had suffered an epileptic seizure.

       155.    Defendant Texas Department of Criminal Justice knew or should have

known that Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No.

3 filed knowingly false charges and/or a ‘write-up’ against Marinda Griggs during or

after she was in the hospital being treated for the epileptic seizure that allegedly “caused”

the incident on September 29, 2015, yet permitted Ms. Griggs to continue to suffer severe

emotional anguish and distress as a result.

       156.    The above-described acts and omissions by Defendant Texas Department



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of Criminal Justice demonstrate a deliberate indifference to and conscious disregard for

the constitutional rights and safety of Marinda Griggs.

       157.    As a result of the violations of Marinda Griggs’ constitutional rights by

Defendant Texas Department of Criminal Justice, through its agent(s) and or

employee(s), Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or

No. 3 and his/their afore-described willful and wanton conduct, Marinda Griggs suffered

substantial injuries, damages, and ultimately death.

       158.    Marinda Griggs exercised her rights, or attempted to do so, under the

United States Constitution.

       159.    Defendant the Texas Department of Criminal Justice, by and through its

agent(s) and/or employee(s) Defendant Irby and/or Defendants John Does No. 1, and/or

No. 2, and/or No. 3, deprived Marinda Griggs of her rights guaranteed by the United

States Constitution and federal statutes.

       160.    As a direct and proximate result of the foregoing conduct, Defendant

Texas Department of Criminal Justice, by and through its agent(s) and/or employee(s),

Defendant Irby and/or Defendants John Does No. 1, and/or No. 2, and/or No. 3, deprived

Marinda Griggs of her rights and privileges as a citizen of the United States, and caused

Marinda Griggs to suffer severe emotional distress, injury, and death, of which has

caused the general damages requested by Plaintiff in an amount in excess of the

applicable jurisdictional amount, to be proven at trial.

       161.    No alternative cause of action would provide a remedy for the severe and

emotional distress caused by the Defendants’ conduct.

                                      Count XI
 Violation of Title II of the Americans With Disabilities Act – Texas Department of

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                                     Criminal Justice

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

        162.    Marinda Griggs qualified as an individual with multiple disabilities per the

Americans with Disabilities Act as she suffered from epilepsy and mental health issues.

        163.    Marinda Griggs, a prisoner, was qualified to participate in or receive the

benefit of programs and activities in the prison for persons with her aforementioned

disabilities.

        164.    Defendant Texas Department of Criminal Justice’s deliberate refusal to

accommodate Marinda Griggs’ disabilities by placing her in solitary confinement

constitutes an exclusion from participation in, or the denial of benefits. Defendant Texas

Department of Criminal Justice denied Marinda Griggs of the benefits of the prison

services for those persons with disabilities, and showed a deliberate indifference to her

medical needs, thus discriminating against her by placing her in solitary confinement on

or about October 9, 2015, knowing that she had sustained serious bodily injuries as a

result of officers’ assaulting her and after she had just been released from the hospital for

those injuries, all the while suffering from mental health issues.

        165.    Defendant Texas Department of Criminal Justice knowingly filed a

”write-up/charges” against Marinda Griggs as a result of her suffering an epileptic seizure

on or about September 29, 2015, causing her to be placed in solitary confinement – thus

denying her of her benefits and discriminating against her based upon her disability.

        166.    Defendant Texas Department of Criminal Justice denial and/or exclusion

of Marinda Griggs’ benefits and discrimination against her was all based upon, and a

result of, Marinda Griggs’ suffering from her aforementioned disability(s).



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        167.   Defendant Texas Department of Criminal Justice has proximately caused

the general damages requested by Plaintiff in an amount in excess of the applicable

jurisdictional amount, to be proven at trial.

                                    Count XII
Civil Practices and Remedies Code § 101.021 Governmental Liability for Texas Tort
                   Claims – Texas Department of Criminal Justice

Plaintiff re-alleges Paragraphs 1-61 of the Complaint.

        168.   Defendant Texas Department of Criminal Justice is liable for the injuries

and death of Marinda Griggs as it was proximately caused by wrongful acts and/or

omission and/or negligence of the prison officer(s) acting within the scope of his/their

employment.

        169.   As aforementioned, Marinda Griggs suffered from epilepsy, and

depression/mental affliction, and twice prior to October 9, 2015 had attempted suicide, at

least one time by hanging with a bed sheet.

        170.   The two prior suicidal incidences had occurred while Marinda Griggs was

in the care, custody, and control of Defendant Texas Department of Criminal Justice, and

therefore Defendant certainly had notice of her suicidal propensity, and thus her ultimate

suicide by hanging on or about October 9, 2015 was foreseeable.

        171.   On or about October 9, 2015, Ms. Griggs was wrongfully placed in

solitary confinement in a cell where she had access to a non-breakaway bed sheet(s), and

air ducts and/or air vents and/or prison bars to which she could hang herself with the bed

sheet(s).

        172.   Marinda Griggs’ injury and death were therefore so caused by the

condition of the cell and the use of tangible property under § 101.021(2) – the bed



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sheet(s) and air duct(s) and/or prison bars.

       173.    Defendant Texas Department of Criminal justice had a duty to protect a

(twice) known suicidal risk, Marinda Griggs, an individual suffering from depression and

epilepsy from having access to the aforementioned tangible property present in her

solitary confinement cell, yet the Defendant breached that duty.

       174.    Marinda Griggs’ injuries were a direct and proximate cause by these

wrongful acts and/or omission and/or negligence of the prison officer(s) placing her in

the solitary confinement cell with said tangible property while the officers were acting

within the scope of his/their employment.

                                         Damages

       175.    Defendants are jointly and severally liable for the wrongs complained of

herein, either by virtue of direct participation or by virtue of encouraging, aiding,

abetting, committing, and/or ratifying and condoning the commission of the above

described acts and/or omissions.

       176.    Plaintiff and Plaintiff’s Decedent suffered compensatory, special, and

punitive damages for the following:

               a.      Extreme mental anguish as a result of being falsely charged with a

conduct violation, physically assaulted, and battered by Defendant Irby and/or

Defendants John Does No. 1, and/or No. 2, and/or No. 3.

               b.      Extreme physical abuse, mental anguish and emotional distress as

a result of the intentional infliction of emotional distress to which Defendant Texas

Department of Criminal Justice, Defendant Irby, and/or Defendants John Does No. 1,

and/or No. 2, and/or No. 3.



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                 c.      Violation of Plaintiff’s civil rights by Defendant Texas Department

of Criminal Justice, Defendant Irby, and/or Defendants John Does No. 1, and/or No. 2,

and/or No. 3.

                 d.      Punitive damages for egregious acts and omissions of Defendant

Texas Department of Criminal Justice, Defendant Irby, and/or Defendants John Does No.

1, and/or No. 2, and/or No. 3.

       177.      Plaintiff is entitled to attorneys’ fees for litigation of this matter.

       178.      Plaintiff is entitled to all other relief to which this Court deems just and

equitable.

       179.      Plaintiff requests and is entitled to a trial by jury.

                                        Prayer for Relief

       Joyce Griggs, as Aunt and Personal Representative of the Estate of Marinda

Griggs, deceased, prays that for judgment on her behalf and against all defendants jointly,

and severally, and in solido, as follows:

       a.        Compensatory, special, and punitive damages;

       b.        The cost of this action and reasonable attorneys’ fees as provided by 42

U.S.C. § 1983;

       c.        Judicial interest from the date of judicial demand;

       d.        Trial by jury; and

       e.        Such further relief as this Court deems just and equitable.




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                                   Respectfully Submitted,

                                   /s/ Steve Sumner___
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